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UNITED STATES DISTRICT COURT                                               ,.,.,:........... ',
SOUTHERN DISTRICT OF NEW YORK                                         .,
------------------------------------ X                                 '


ANDREA TANT AROS,

                             Plaintiff,
        -against-                                            SCHEDULING ORDER

FOX NEWS NETWORK LLC, et al.,                                   17 Civ. 2958 (GBD)

                             Defendants.

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GEORGE B. DANIELS, District Judge:

        The conference previously scheduled for April 17, 2018, is adjourned to June 28, 2018,

at 9:45 a.rn.


Dated: April 12, 2018
       New York, New York
                                                       SO ORDERED.
